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                                   UNITED STATES DISTRICT COURT
                                   EASTERN DISTRICT OF LOUISIANA

ADVANCED MEDICAL REHAB, LLC                                                 CIVIL ACTION


VERSUS                                                                      NO. 17-412

CHERISSA CABAHUG LOFLIN                                                     SECTION A(4)



                                             ORDER AND REASONS

        The following motion is before the Court: Motion to Remand (Rec. Doc. 9) filed by

plaintiff Advanced Medical Rehab, LLC (“AMR”). Defendant Cherissa Cabahug opposes the

motion. The motion, submitted to the Court on February 22, 2017, is before the Court on the

briefs without oral argument.

        Advanced Medical Rehab, LLC filed a petition against Cherissa Cabahug Loflin in the

Civil District Court for the Parish of Orleans. The claims arise out of a prior contractual

relationship between the parties. All of the claims are based on state law. According to the

Petition, both AMR and Cabahug are Louisiana citizens.

        On January 18, 2017, Cabahug filed a Notice of Removal, in which she characterized

herself as the plaintiff in the action and AMR as the defendant.1 The Notice purports to effect

removal pursuant to 28 U.S.C. § 1441(a), which is quoted at length:

        Except as otherwise expressly provided by Act of Congress, any civil action brought
        in a State court of which the district courts of the United States have original
        jurisdiction, may be removed by the defendant or the defendants, to the district
        court of the United States for the district and division embracing the place where
        such action is pending.

28 U.S.C. § 1441(a) (emphasis by the Court).


        1
            Also, the caption on the Notice of Removal incorrectly reverses the role of the parties. The Clerk
for this district, however, has correctly captioned the case notwithstanding the Notice.


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        Thus, removal—which is strictly a creature of statute and one subject to narrow

construction at that—expressly requires original subject matter jurisdiction. Supplemental

jurisdiction pursuant to 28 U.S.C. § 1367 is not original subject matter jurisdiction for purposes of

removal. See Kokkonen v. Guardian Life Ins. Co., 511 U.S. 375 (1994). Accordingly, Cabahug’s

suggestion that this action was removable because it shares a common nucleus of operative fact

with Civil Action 17-241 is legally incorrect.

        Struggling to find a basis for original subject matter jurisdiction, and diversity of citizenship

lacking, Cabahug asserts that Plaintiff’s state law claims actually arise under federal law because

the Louisiana Unfair Trade Practices Act was modeled after a federal statute. This argument is

not supported by existing law.

        Accordingly, and for the foregoing reasons;

        IT IS ORDERED that the Motion to Remand (Rec. Doc. 9) filed by plaintiff Advanced

Medical Rehab, LLC is GRANTED. This matter is REMANDED to the state court from which it

was removed pursuant to 28 U.S.C. § 1447(c). The request for attorney’s fees and costs is

DENIED;

        IT IS FURTHER ORDERED that the Motion for Leave to File a Sur-reply (Rec. Doc.

15) is DENIED.

        March 14, 2017




                                                          __________________________________
                                                                    JUDGE JAY C. ZAINEY
                                                              UNITED STATES DISTRICT JUDGE




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